     Case 1:21-cv-01713-JPH-MG Document 20 Filed 08/19/21 Page 1 of 2 PageID #: 169


                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION



DE’JOURE MERCER,

                              Plaintiff,

                                                            Case No. 1:21-cv-01713-JPH-MG
v.

NFL ENTERPRISES LLC, a Delaware
limited liability company,

                      Defendant.


        Notice of voluntary dismissal without prejudice pursuant Fed. R. Civ. P. 41(a)(1)(A)

        Comes the Plaintiff, De’Joure Mercer, pursuant to Fed. R. Civ. P. 41(a)(1)(A) and voluntarily

dismisses his claims against the defendant without prejudice.

               Dated: August 19, 2021

                                                    Respectfully submitted,


                                                    /s/ Todd V. McMurtry
                                                    Todd V. McMurtry
                                                    Admitted Pro Hac Vice
                                                    Hemmer DeFrank Wessels, PLLC
                                                    250 Grandview Drive, Suite 500
                                                    Ft. Mitchell, Kentucky 41017
                                                    Phone (859) 344-1188
                                                    Fax (859) 578-3869
                                                    tmcmurtry@hemmerlaw.com

                                                    Counsel for Plaintiff, De’Joure Mercer
                                                    Guy A. Relford
                                                    The Law Office of Guy A. Relford
                                                    1 South Rangeline Road
                                                    Suite 110
                                                    Carmel, IN 46032
                                                    Phone: (317) 844-4297
                                                    Fax: (317) 703-3430
                                                    guy@relfordlaw.com
  Case 1:21-cv-01713-JPH-MG Document 20 Filed 08/19/21 Page 2 of 2 PageID #: 170




                                    CERTIFICATE OF SERVICE

       I certify that on August 19, 2021 a copy of the foregoing Notice was mailed, by first-class U.S.
Mail, postage prepaid and properly addressed to the following:

Andrew W. Hull
HOOVER HULL TURNER LLP
111 Monument Circle, Suite 4400
P.O. Box 44989
Indianapolis, Indiana 46244-0989
awhull@hooverhullturner.com


                                                        /s/ Todd V. McMurtry
